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                                    UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF NEW YORK



In re: RUNWAY LIQUIDATION HOLDINGS, LLC,                          §                 Case No. 17-10466
       et al.,                                                    §
                                                                                    Lead Case No. 17-10466
                                                                  §
                      Debtor(s)                                   §                     Jointly Administered

Post-confirmation Report                                                                                                Chapter 11

Quarter Ending Date: 09/25/2021                                                            Petition Date: 02/28/2017



Plan Confirmed Date:07/26/2017                                                       Plan Effective Date: 07/31/2017


This Post-confirmation Report relates to:     Reorganized Debtor
                                              Other Authorized Party or Entity: Runway Liquidation Holdings, LLC
                                                                                  Name of Authorized Party or Entity




/s/ Robert J. Feinstein                                                 Robert J. Feinstein
Signature of Responsible Party                                            Printed Name of Responsible Party
10/21/2021
                                                                        Pachuski Stang Ziehl & Jones LLP
Date                                                                    780 Third Avenue, 34th Floor
                                                                        New York, NY 10017-2024
                                                                         Address


STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.




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Debtor's Name RUNWAY LIQUIDATION HOLDINGS, LLC, et al.,                                                            Case No. 17-10466


Part 1: Summary of Post-confirmation Transfers

                                                                                                                                  Total Since
                                                                                                    Current Quarter              Effective Date

 a. Total cash disbursements                                                                                    $207,642            $248,522,088
 b. Non-cash securities transferred                                                                                    $0                     $0
 c. Other non-cash property transferred                                                                                $0                     $0
 d. Total transferred (a+b+c)                                                                                   $207,642            $248,522,088

Part 2: Preconfirmation Professional Fees and Expenses
                                                                                     Approved       Approved       Paid Current       Paid
                                                                                   Current Quarter Cumulative        Quarter        Cumulative
a.          Professional fees & expenses (bankruptcy)
            incurred by or on behalf of the debtor               Aggregate Total
            Itemized Breakdown by Firm
                   Firm Name                            Role
            i
            ii


                                                                                     Approved       Approved       Paid Current       Paid
                                                                                   Current Quarter Cumulative        Quarter        Cumulative
b.          Professional fees & expenses (nonbankruptcy)
            incurred by or on behalf of the debtor               Aggregate Total
            Itemized Breakdown by Firm
                   Firm Name                            Role
            i
            ii
c.          All professional fees and expenses (debtor & committees)

Part 3: Recoveries of the Holders of Claims and Interests under Confirmed Plan
                                                      Total
                                                   Anticipated                                                                         % Paid of
                                                    Payments            Paid Current                                                   Allowed
                                                   Under Plan             Quarter            Paid Cumulative      Allowed Claims        Claims
 a. Administrative claims                                        $0                $12,469          $536,062                $536,062       100%
 b. Secured claims                                               $0                    $0         $84,032,841           $84,032,841        100%
 c. Priority claims                                              $0                    $0           $289,977                $289,977       100%
 d. General unsecured claims                                     $0                $57,390         $2,100,180          $107,578,694          2%
 e. Equity interests                                             $0                    $0                 $0


Part 4: Questionnaire
     a. Is this a final report?                                                                                  Yes        No
             If yes, give date Final Decree was entered:
        If no, give date when the application for Final Decree is anticipated:         01/01/2022
 b. Are you current with quarterly U.S. Trustee fees as set forth under 28 U.S.C. § 1930?                        Yes        No




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Debtor's Name RUNWAY LIQUIDATION HOLDINGS, LLC, et al.,                                           Case No. 17-10466




                                                       Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information and provision of this information is mandatory. The United
States Trustee will use this information to calculate statutory fee assessments under 28 U.S.C. § 1930(a)(6) and to
otherwise evaluate whether a reorganized chapter 11 debtor is performing as anticipated under a confirmed plan.
Disclosure of this information may be to a bankruptcy trustee when the information is needed to perform the trustee's
duties, or to the appropriate federal, state, local, regulatory, tribal, or foreign law enforcement agency when the information
indicates a violation or potential violation of law. Other disclosures may be made for routine purposes. For a discussion of
the types of routine disclosures that may be made, you may consult the Executive Office for United States Trustee's
systems of records notice, UST-001, "Bankruptcy Case Files and Associated Records." See 71 Fed. Reg. 59,818 et seq.
(Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://www.justice.gov/ust/eo/
rules_regulations/index.htm. Failure to provide this information could result in the dismissal or conversion of your
bankruptcy case, or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Post-confirmation Report and its attachments, if
any, are true and correct and that I have been authorized to sign this report.



/s/ John R. Boken                                                     JOHN R. BOKEN
Signature of Responsible Party                                         Printed Name of Responsible Party
CHIEF FINANCIAL OFFICER                                                10/21/2021
Title                                                                  Date




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